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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                        Criminal No. 22-CR-180(JNE/TNL)

 UNITED STATES OF AMERICA,

                      Plaintiff,

         v.                                NOTICE OF ADDING AN ATTORNEY

 ANTHONY LEE HITCHCOCK,

                      Defendant.


        Please add the following Assistant United States Attorney to the above-captioned

case:

        Add AUSA

        Tom Calhoun-Lopez

Dated: September 29, 2022                       Respectfully submitted,

                                                ANDREW M. LUGER
                                                United States Attorney

                                                s/ Thomas Calhoun-Lopez

                                                BY: THOMAS CALHOUN-LOPEZ
                                                Assistant U.S. Attorney
                                                Attorney ID No. 480908DC
